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                          THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


  SYMBOLOGY INNOVATIONS, LLC,
                 Plaintiff,
                                                      CIVIL ACTION NO. _______________
         v.
  CHEWY.COM                                           JURY TRIAL DEMANDED
                 Defendant.



                                          COMPLAINT


         Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology Innovations”) files

  this complaint against Defendant CHEWY.COM (“Defendant” or “Chewy”) for infringement of

  U.S. Patent Nos. 7,992,773 (the "`773 Patent”, attached as Exhibit A) and 8,424,752 (the "`752

  Patent”, attached as Exhibit B, 8,651,369 (the "`369 Patent”, attached as Exhibit C) and

  8,936,190 (the "‘190 Patent”, attached as Exhibit D) (collectively, the “Asserted Patents”) and

  alleges as follows:

     1. This is an action for a permanent injunction, damages, attorney’s fees, costs, and for

  further relief based on patent infringement under 35 U.S.C. § 271.

                                             PARTIES

  2. Plaintiff Symbology Innovations is a Texas limited liability company with an office located

     at 1400 Preston Road, Suite 400, Plano, Texas 75093.

  3. On information and belief, Defendant Chewy is a company with a place of business located

     at 1855 Griffin Rd., Dania Beach, FL 33004.
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                                   JURISDICTION AND VENUE

  4. This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq. Plaintiff

     is seeking injunctive relief as well as damages, attorney fees and costs.

  5. Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

     1338(a) (Patents).

  6. The exercise of personal jurisdiction in Florida is proper because acts giving rise to

     Plaintiff’s cause of action have occurred in Florida.            More specifically, Defendant

     committed, and continues to commit, acts of infringement in Florida, has conducted business

     in the Florida, and/or has engaged in continuous and systematic activities in Florida and has a

     place business in this District.

  7. Upon information and belief, Defendant’s instrumentalities that are alleged herein to infringe

     were and continue to be used, imported, offered for sale, and/or sold in Florida.

    8. Venue is proper in this District under 28 U.S.C. §§ 1391(b), 1391(c) and 1400(b) because

         Defendant is deemed to reside in this District and has a place business in this District.

                                            BACKGROUND

                                             `773 Patent

  9. On August 9, 2011, the United States Patent and Trademark Office (“USPTO”) duly and

     legally issued the `773 Patent, entitled “System and Method for Presenting Information

     About an Object on a Portable Electronic Device” after the USPTO completed a full and fair

     examination.

  10. Symbology Innovations is currently the owner of the `773 Patent, having received all right,

     title and interest in, and to, the `773 Patent from the previous assignee of record.

  11. Symbology Innovations possesses all rights of recovery under the `773 Patent, including the

     exclusive right to recover for past, present and future infringement.
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  12. The `773 Patent contains eighteen claims including three independent claims (claims 1, 12,

     and 15) and fifteen dependent claims.

  13. The method claim of claim 1 of the `773 Patent comprises detecting symbology associated

     with an object, decoding the symbology to obtain a decode string, sending the decode string

     to at least one visual detection application residing on a portable electronic device, receiving

     a first amount of information about the object, sending the decode string to a remote server,

     receiving a second amount of information about the object, combining the first and second

     amounts of information to obtain cumulative information, and displaying the cumulative

     information on a display device that is associated with the portable electronic device.

                                             `752 Patent

  14. On April 23, 2013, the USPTO duly and legally issued the `752 Patent, entitled “System and

     Method for Presenting Information About an Object on a Portable Electronic Device” after

     the USPTO completed a full and fair examination.

  15. Symbology Innovations is currently the owner of the `752 Patent, having received all right,

     title and interest in, and to, the `752 Patent from the previous assignee of record.

  16. Symbology Innovations possesses all rights of recovery under the `752 Patent, including the

     exclusive right to recover for past, present and future infringement.

  17. The `752 Patent contains twenty-eight claims including three independent claims (claims 1,

     17, and 24) and twenty-five dependent claims.

  18. The method claim of claim 1 of the `752 Patent comprises capturing a digital image,

     detecting symbology associated with an object within the digital image, decoding the

     symbology to obtain a decode string, sending the decode string to a remote server, receiving

     information about the object based on the decode string, and displaying the information on a

     display device that is associated with the portable electronic device.
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                                             `369 Patent

  19. On February 18, 2014, the USPTO duly and legally issued the `369 Patent, entitled “System

     and Method for Presenting Information About an Object on a Portable Device” after the

     USPTO completed a full and fair examination.

  20. Symbology Innovations is currently the owner of the `369 Patent, having received all right,

     title and interest in, and to, the `369 Patent from the previous assignee of record.

  21. Symbology Innovations possesses all rights of recovery under the `369 Patent, including the

     exclusive right to recover for past, present and future infringement.

  22. The `369 Patent contains twenty-eight claims including three independent claims (claims 1,

     17, and 24) and twenty-five dependent claims.

  23. The method claim of claim 1 of the `369 Patent comprises capturing a digital image,

     detecting symbology associated with the digital image using a portable electronic device,

     decoding the symbology to obtain a decode string, sending the decode string to a remote

     server, receiving information about the digital image based on the decode string, and

     displaying the information on a display device that is associated with the portable electronic

     device.

                                             `190 Patent

  24. On January 20, 2015, the USPTO duly and legally issued the `190 Patent, entitled “System

     and Method for Presenting Information About an Object on a Portable Electronic Device”

     after the USPTO completed a full and fair examination.

  25. Symbology Innovations is currently the owner of the `190 Patent, having received all right,

     title and interest in, and to, the `190 Patent from the previous assignee of record.

  26. Symbology Innovations possesses all rights of recovery under the `190 Patent, including the

     exclusive right to recover for past, present and future infringement.
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  27. The `190 Patent contains twenty claims including three independent claims (claims 1, 17, and

     20) and seventeen dependent claims.

  28. The method of claim 1 of the `190 Patent comprises capturing a digital image, detecting

     symbology associated with the digital image using an electronic device, decoding the

     symbology to obtain a decode string, sending the decode string to a remote server, receiving

     information about the digital image based on the decode string, and displaying the

     information on a display device that is associated with the electronic device.

                                         COUNT ONE
                       (Infringement of United States Patent No. 7,992,773)

  29. Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 28, the same as if set

     forth herein.

  30. This cause of action arises under the patent laws of the United States and, in particular under

     35 U.S.C. §§ 271, et seq.

  31. Defendant has knowledge of its infringement of the `773 Patent, at least as of the service of

     the present complaint.

  32. On information and belief, Defendant has infringed and continues to infringe one or more

     claims of the `773 Patent, including (at least) Claims 1, 2, 3, 4, 6, 7, 8, 10, 11, 14, 15, 17, and

     18 by using and/or incorporating Quick Response Codes (“QR codes”) in media (e.g.

     advertisements) associated with selected products (e.g. Chewy’s Geriatrx cat food) in a

     manner covered by one or more claims of the `773 Patent. Plaintiff reserves the right to

     amend the asserted claims for the `773 Patent during discovery.

  33. Accordingly, Defendant has infringed, and continues to infringe, the `773 Patent in violation

     of 35 U.S.C. § 271.
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  34. On information and belief, Defendant has, at least through internal testing, used or

     incorporated QR codes in advertisements.

  35. One specific example of Defendant’s activity involves the use of QR codes in Internet

     advertisements of Defendant’s Geriatrx cat food.

  36. For example, on information and belief, Defendant has at least internally tested the

     functionality of its QR codes in connection with the Internet advertising of its Geriatrx cat

     food.

  37. On information and belief, Defendant has captured a digital image of a QR code associated

     with its Geriatrx cat food, an example of which is shown below and may be viewed at

  https://img.chewy.com/is/content/catalog/82577_FeedingInstructions_Wysong._V1494969150_.pdf




  38. On information and belief, Defendant allows consumers to scan QR codes to download

     information on Defendant’s products such as its Geriatrx cat food.

  39. A comparison between Claim 1 of the `773 Patent and Defendant’s download QR code usage

     is provided in Exhibit E and on information and belief explains Symbology Innovations’

     infringement theory in sufficient detail to demonstrate a plausible entitlement to relief.

     Plaintiff reserves the right to amend this claim chart based on any additional information
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     obtained. Similar comparisons have been made between the other asserted claims of the `773

     Patent and Defendant’s QR process.

  40. The `773 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of

     the United States Code.

  41. By engaging in the conduct described herein, Defendant has injured Symbology Innovations

     and is thus liable for infringement of the `773 Patent, pursuant to 35 U.S.C. § 271.

  42. Defendant has committed these acts of literal infringement, or infringement under the

     doctrine of equivalents of the `773 Patent, without license or authorization.

  43. Defendant’s actions complained of herein with respect to the of the `773 Patent will continue

     unless Defendant is enjoined by this Court.

  44. As a result of Defendant’s infringement of the `773 Patent, Symbology Innovations has

     suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

     compensate for Defendant’s past infringement, together with interests and costs.

  45. Symbology Innovations will continue to suffer damages in the future unless Defendant’s

     infringing activities related to the of the `773 Patent are enjoined by this Court.

  46. Plaintiff is in compliance with 35 U.S.C. § 287.

  47. As such, Symbology Innovations is entitled to compensation for any continuing and/or future

     infringement of the `773 Patent up until the date that Defendant is finally and permanently

     enjoined from further infringement.

                                         COUNT TWO
                       (Infringement of United States Patent No. 8,424,752)

  48. Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 47, the same as if set

     forth herein.
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  49. This cause of action arises under the patent laws of the United States and, in particular under

     35 U.S.C. §§ 271, et seq.

  50. Defendant has knowledge of its infringement of the `752 Patent, at least as of the service of

     the present complaint.

  51. On information and belief, Defendant has infringed and continues to infringe one or more

     claims of the `752 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18,

     23, 24, and 25 by using and/or incorporating Quick Response Codes (“QR codes”) in media

     (e.g. advertisements) associated with selected products (e.g., Chewy’s Geriatrx cat food) in a

     manner covered by one or more claims of the `752 Patent. Plaintiff reserves the right to

     amend the asserted claims for the `752 Patent during discovery.

  52. Accordingly, Defendant has infringed, and continues to infringe, the `752 Patent in violation

     of 35 U.S.C. § 271.

  53. On information and belief, Defendant has, at least through internal testing, used or

     incorporated QR codes in advertisements.

  54. One specific example of Defendant’s activity involves the use of QR codes in Internet

     advertisements of Defendant’s Geriatrx cat food.

  55. For example, on information and belief, Defendant has at least internally tested the

     functionality of its QR codes in connection with the Internet advertising of its Geriatrx cat

     food.

  56. On information and belief, Defendant has captured a digital image of a QR code associated

     with its Geriatrx cat food, an example of which is shown below and may be viewed at:

  https://img.chewy.com/is/content/catalog/82577_FeedingInstructions_Wysong._V1494969150_.pdf
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  57. On information and belief, Defendant allows consumers to scan QR codes to download

     information on Defendant’s products such as its Geriatrx cat food.

  58. A comparison between Claim 1 of the `752 Patent and Defendant’s download QR code usage

     is provided in Exhibit F and on information and belief explains Symbology Innovations’

     infringement theory in sufficient detail to demonstrate a plausible entitlement to relief.

     Plaintiff reserves the right to amend this claim chart based on any additional information

     obtained. Similar comparisons have been made between the other asserted claims of the `752

     Patent and Defendant’s download QR code usage

  59. The `752 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of

     the United States Code.

  60. By engaging in the conduct described herein, Defendant has injured Symbology Innovations

     and is thus liable for infringement of the `752 Patent, pursuant to 35 U.S.C. § 271.

  61. Defendant has committed these acts of literal infringement, or infringement under the

     doctrine of equivalents of the `752 Patent, without license or authorization.

  62. Defendant’s actions complained of herein with respect to the `752 Patent will continue unless

     Defendant is enjoined by this Court.

  63. As a result of Defendant’s infringement of the `752 Patent, Symbology Innovations has

     suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

     compensate for Defendant’s past infringement, together with interests and costs.
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   64. Symbology Innovations will continue to suffer damages in the future unless Defendant’s

      infringing activities of the `752 Patent are enjoined by this Court.

   65. Plaintiff is in compliance with 35 U.S.C. § 287.

   66. As such, Symbology Innovations is entitled to compensation for any continuing and/or future

      infringement up until the date that Defendant is finally and permanently enjoined from

      further infringement of the `752 Patent.

                                         COUNT THREE
                        (Infringement of United States Patent No. 8,936,369)

   67. Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 66, the same as if set

      forth herein.

   68. This cause of action arises under the patent laws of the United States and, in particular under

      35 U.S.C. §§ 271, et seq.

   69. Defendant has knowledge of its infringement of the `369 Patent, at least as of the service of

      the present complaint.

   70. On information and belief, Defendant has infringed and continues to infringe one or more

      claims of the `369 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18,

      23, 24, and 25 by using and/or incorporating Quick Response Codes (“QR codes”) in media

      (e.g. advertisements) associated with selected products (e.g., Chewy’s Geriatrx cat food) in a

      manner covered by one or more claims of the `369 Patent. Plaintiff reserves the right to

      amend the asserted claims for the `369 Patent during discovery.

   71. Accordingly, Defendant has infringed, and continues to infringe, the `369 Patent in violation

      of 35 U.S.C. § 271.

   72. On information and belief, Defendant has, at least through internal testing, used or

      incorporated QR codes in advertisements.
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   73. One specific example of Defendant’s activity involves the use of QR codes in Internet

      advertisements of Defendant’s Geriatrx cat food.

   74. For example, on information and belief, Defendant has at least internally tested the

      functionality of its QR codes in connection with the Internet advertising of its e.g., Geriatrx

      cat food.

   75. On information and belief, Defendant has captured a digital image of a QR code associated

      with its Geriatrx cat food, an example of which is shown below and may be viewed at:

   https://img.chewy.com/is/content/catalog/82577_FeedingInstructions_Wysong._V1494969150_.pdf




   76. On information and belief, Defendant allows consumers to scan QR codes to download

      information on Defendant’s products such as its Geriatrx cat food.

   77. A comparison between Claim 1 of the `369 Patent and Defendant’s download QR code usage

      is provided in Exhibit G and on information and belief explains Symbology Innovations’

      infringement theory in sufficient detail to demonstrate a plausible entitlement to relief.

      Plaintiff reserves the right to amend this claim chart based on any additional information

      obtained. Similar comparisons have been made between the other asserted claims of the `369

      Patent and Defendant’s download QR code usage process.

   78. The `369 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of

      the United States Code.
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   79. By engaging in the conduct described herein, Defendant has injured Symbology Innovations

      and is thus liable for infringement of the `369 Patent, pursuant to 35 U.S.C. § 271.

   80. Defendant has committed these acts of literal infringement, or infringement under the

      doctrine of equivalents of the `369 Patent, without license or authorization.

   81. Defendant’s actions complained of herein with respect to the `369 Patent will continue unless

      Defendant is enjoined by this Court.

   82. As a result of Defendant’s infringement of the `369 Patent, Symbology Innovations has

      suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

      compensate for Defendant’s past infringement, together with interests and costs.

   83. Symbology Innovations will continue to suffer damages in the future unless Defendant’s

      infringing activities of the `369 Patent are enjoined by this Court.

   84. Plaintiff is in compliance with 35 U.S.C. § 287.

   85. As such, Symbology Innovations is entitled to compensation for any continuing and/or future

      infringement up until the date that Defendant is finally and permanently enjoined from

      further infringement of the `369 Patent.

                                          COUNT FOUR
                        (Infringement of United States Patent No. 8,936,190)

   86. Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 85, the same as if set

      forth herein.

   87. This cause of action arises under the patent laws of the United States and, in particular under

      35 U.S.C. §§ 271, et seq.

   88. Defendant has knowledge of its infringement of the `190 Patent, at least as of the service of

      the present complaint.
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   89. On information and belief, Defendant has infringed and continues to infringe one or more

      claims of the `190 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18,

      and 20 by using and/or incorporating Quick Response Codes (“QR codes”) in media (e.g.

      advertisements) associated with selected products (e.g., Chewy’s Geriatrx cat food) in a

      manner covered by one or more claims of the `190 Patent. Plaintiff reserves the right to

      amend the asserted claims for the `190 Patent during discovery.

   90. Accordingly, Defendant has infringed, and continues to infringe, the `190 Patent in violation

      of 35 U.S.C. § 271.

   91. On information and belief, Defendant has, at least through internal testing, used or

      incorporated QR codes in advertisements.

   92. One specific example of Defendant’s activity involves the use of QR codes in Internet

      advertisements of Defendant’s Geriatrx cat food.

   93. For example, on information and belief, Defendant has at least internally tested the

      functionality of its QR codes in connection with the Internet advertising of its Geriatrx cat

      food.

   94. On information and belief, Defendant has captured a digital image of a QR code associated

      with its Geriatrx cat food, an example of which is shown below and may be viewed at:

   https://img.chewy.com/is/content/catalog/82577_FeedingInstructions_Wysong._V1494969150_.pdf
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   95. On information and belief, Defendant allows consumers to scan QR codes to download

      information on Defendant’s products such as its Geriatrx cat food.

   96. A comparison between Claim 1 of the `190 Patent and Defendant’s download QR code usage

      is provided in Exhibit H and on information and belief explains Symbology Innovations’

      infringement theory in sufficient detail to demonstrate a plausible entitlement to relief.

      Plaintiff reserves the right to amend this claim chart based on any additional information

      obtained. Similar comparisons have been made between the other asserted claims of the `190

      Patent and Defendant’s download QR code usage process.

   97. The `190 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of

      the United States Code.

   98. By engaging in the conduct described herein, Defendant has injured Symbology Innovations

      and is thus liable for infringement of the `190 Patent, pursuant to 35 U.S.C. § 271.

   99. Defendant has committed these acts of literal infringement, or infringement under the

      doctrine of equivalents of the `190 Patent, without license or authorization.

   100.   Defendant’s actions complained of herein with respect to the `190 Patent will continue

      unless Defendant is enjoined by this Court.

   101.   As a result of Defendant’s infringement of the `190 Patent, Symbology Innovations has

      suffered monetary damages and is entitled to a monetary judgment in an amount adequate to

      compensate for Defendant’s past infringement, together with interests and costs.

   102.   Symbology Innovations will continue to suffer damages in the future unless Defendant’s

      infringing activities of the `190 Patent are enjoined by this Court.

   103.   Plaintiff is in compliance with 35 U.S.C. § 287.
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   104.   As such, Symbology Innovations is entitled to compensation for any continuing and/or

      future infringement up until the date that Defendant is finally and permanently enjoined from

      further infringement of the `190 Patent.

   105.

                                    DEMAND FOR JURY TRIAL

   106.   Symbology Innovations, under Rule 38 of the Federal Rules of Civil Procedure, requests

      a trial by jury of any issues so triable by right.

                                        PRAYER FOR RELIEF

   WHEREFORE, Symbology Innovations respectfully requests that this Court provide it the

   following relief:

          A.      ENTER judgment for Symbology Innovations on this Complaint on all causes of

   action asserted herein;

          B.      ENTER judgment for Plaintiff that Defendants’ infringement is willful;

          C.      ENTER an Order permanently enjoining Defendant, its agents, officers,

   employees, representatives, attorneys, successors, and assigns and all persons acting in privity or

   in concert or in participation with Defendant from further infringement of U.S. Patent No.

   7,992,773;

          D.      ENTER an Order permanently enjoining Defendant, its agents, officers,

   employees, representatives, attorneys, successors, and assigns and all persons acting in privity or

   in concert or in participation with Defendant from further infringement of U.S. Patent No.

   8,424,752;

          E.      ENTER an Order permanently enjoining Defendant, its agents, officers,

   employees, representatives, attorneys, successors, and assigns and all persons acting in privity or
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   in concert or in participation with Defendant from further infringement of U.S. Patent No.

   8,651,369;

          F.      ENTER an Order permanently enjoining Defendant, its agents, officers,

   employees, representatives, attorneys, successors, and assigns and all persons acting in privity or

   in concert or in participation with Defendant from further infringement of U.S. Patent No.

   8,936,190;

          G.      AWARD Plaintiff damages resulting from Defendant’s infringement in

   accordance with 35 U.S.C. § 284;

          H.      AWARD Plaintiff pre-judgement and post-judgment interests and costs; and

          I.      AWARD Plaintiff such further relief to which the Court finds Plaintiff entitled

   under law or equity.

   Dated: January 28, 2018                              Respectfully submitted,


                                                         /s/ Alex J. Whitman
                                                         Thomas C. Wright, Ph.D.
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                                                         Alex J. Whitman
                                                         Florida Bar No. 86276
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                                                         ATTORNEYS FOR SYMBOLOGY
                                                         INNOVATIONS, LLC
